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                           IN THE UNITED STATES DISTRICT COURT

                        FOR THE SOUTHERN DISTRICT OF NEW YORK


Michael Kane; William Castro; Margaret Chu;
Heather Clark; Stephanie Di Capua; Robert
Gladding; Nwakaego Nwaifejokwu; Ingrid                         Case No. 1:21-cv-7863
Romero; Trinidad Smith; Amaryllis Ruiz-Toro.


                         Plaintiffs,

       vs.



Bill de Blasio, in his official capacity as Mayor of the
City of New York; David Chokshi, in his official
                                                                        o:-i:, ,111 1('.u,, M 1 11~A~~:1~
capacity as Commissioner of Health of the City of                      ~\~;• ,_.,,"\':1\ >_        ,:)'. -~L9 'l"f'Jr,\4
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New York; New York City Department of                                    '(, r .. · J , n::lc'Tlo, "" J·, · s .,O
                                                                    •s.oi; .c'(16 ~ 1(1::,°1 t81iQx3 no,.i.i!rnmo:)
Education.

                         Defendants.



                       AFFIDAVIT OF SUJATA S. GIBSON IN SUPPORT OF
                           MOTION FOR ADMISSION PRO HAC VICE


             Sujata S. Gibson, being first duly sworn, deposes and says:

       1. I am over eighteen years of age and have personal knowledge of the facts set forth herein.

       2. I am the managing attorney at the Gibson Law Firm, PLLC, located at 408 W State

   Street/MLK BLVD, in Ithaca, New York. My business telephone number is 607-327-4125,

   facsimile 607-238-4689, and email sujata@gibsonfirm.law.

       3. I am a member in good standing of the Bar of the State of New York. My attorney

  registration number is 4585824.




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   4. No disciplinary proceedings have ever been filed or are pending against me in any state

or federal court, nor have I ever been censured, suspended from practice, disbarred, or denied

admission or readmission by any court. I have never been convicted of a felony.

                                                     RESPECTFULLY SUBMITTED,



Sworn t o w of September 2021.



Notary Public



        8EMf,INA L. MCCt.OUD. ESO.
        Notary Public. State of New YOik
        Registration No. 02MC6403734
          Qualified In Toml)klns County_,._.
      CornmlNion e.plrea February 3. ..,_.




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